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16                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
17
18     LISA KIM, individually on behalf of              Case No. 2:18-CV-03093 JFW (AS)
       herself and all others similarly situated,
19                                                      NOTICE OF APPEAL – CLASS
20                    Plaintiff,                        MEMBER OBJECTORS’
                                                        NOTICE OF APPEAL TO THE
21           v.                                         U.S. COURT OF APPEALS FOR
                                                        THE NINTH CIRCUIT
22     TINDER, INC., a Delaware Corporation;
23     MATCH GROUP, LLC, a Delaware                     CLASS MEMBER
       limited liability company; MATCH                 OBJECTORS’
24     GROUP, INC., a Delaware corporation;             REPRESENTATION
       and DOES 1 through 10, inclusive, and            STATEMENT
25     each of them,                                    [9TH CIR. RULE 3-2(b)]
26                    Defendants.                       Judge: Hon. John F. Walter
27
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                  NOTICE OF APPEAL; REPRESENTATION STATEMENT, CASE NO. 2:18-CV-03093
     Case 2:18-cv-03093-JFW-AS Document 96 Filed 07/11/19 Page 2 of 5 Page ID #:2797




                                     NOTICE OF APPEAL
2            Class Member Objectors Rich Allison and Steve F1ye hereby appeal to the
 3     United States Cowt of Appeals for the Ninth Circuit from the judgment entered by
4      this Court on June 21 , 2019 (Dkt. 94 ), and from the relevant inte1im orders preceding
 5     the judgment, including but not limited to the minute order and order granting final
 6     approval of class action settlement entered by this Court on June 19, 2019 (Dkt. 90,
 7     91 ), the order granting motion for attorneys' fees, costs and incentive award entered
 8     by this Cowt on June 19, 2019 (Dkt. 92), and the minute order and order granting
 9     preliminary approval of class action settlement entered by this Court on March 1,
10     2019 (Dkt. 60) and March 12, 2019 (Dkt. 62).
11           The only related appeal of which Objectors are aware is Kim v. Tinder, Inc. et
12     al., No. 19-55960 (9th Cir.), which was "dismissed without prejudice" by order filed
13     on June 28, 2019.
14           Objectors' Representation Statement is attached to this Notice as required by
15     Ninth Circuit Rule 3-2(b).
16
       DATED: July 11, 2019                    Respectfully submitted,
17
18
19                                      By:
                                                           . Kralowec
20                                                          CLAW, P.C.
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                NOTICE OF APPEAL; REPRESENTATION STATEMENT, CASE NO. 2: 18-CV-03093
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1             REPRESENTATION STATEMENT (9TH CIR. RULE 3-2(b))
2           The undersigned counsel represent objectors and appellants Rich Allison and
3     Steve Frye. The following list identifies all parties to the action below, and identifies
4     their counsel by name, address, telephone number and email address.
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                NOTICE OF APPEAL; REPRESENTATION STATEMENT, CASE NO. 2:18-CV-03093
     Case 2:18-cv-03093-JFW-AS Document 96 Filed 07/11/19 Page 4 of 5 Page ID #:2799




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               NOTICE OF APPEAL; REPRESENTATION STATEMENT, CASE NO. 2:18-CV-03093
 Case 2:18-cv-03093-JFW-AS Document 96 Filed 07/11/19 Page 5 of 5 Page ID #:2800




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            NOTICE OF APPEAL; REPRESENTATION STATEMENT, CASE NO. 2: 18-CV-03093
